Case 1:17-Cv-01344-LTB Document 1 Filed 06/02/17 USDC Co|orado Page 1 of 23

FlLED
U.S. DlSTRlCT COURT

THE UNITED STATES DISTRICT CoURTQ’~°‘TR‘CT OF COLOR ADO
FOR THE DISTRICT OF COLORADO 2311 JUH __2 PH 2: 38

Vicki Dillard Crowe, JEFFREY P. CULWELL
Plaintiff, Case No. CLERK
Vs. BY,__________UEP. CLK

Jeffrey D. Servin, Esq. &

Servin Associates, '17 _ CV "' 0 1 3 § 4

Defendants.

 

COMPLAINT

 

Comes Now, appearing pro se, Vicki Dillard Crowe, Plaintiff, files her Complaint
and states the following:

l. Plaintiff was the victim of Jeffrey D. Servin, Esq. and his law i`mn, Servin
Associates’ (“Defendant,” “Servin,” “Defendants”), ongoing scheme to defraud
Plaintiff and other religious organizations of money, thus being deprived of the right
of honest services. Plaintiff has standing to bring this Complaint under civil RICO 18 _
U.S.C. § 1964, although such actions made by Servin were also criminal in nature.
Plaintiff seeks damages pursuant to the Civil Rights Attorney’s Fee Award Act of
1976, 90 Stat. 2641, as amended 42 U.S.C. § 1988, 18 U.S.C. § 1341, 18 U.S.C. §
1343, 18 U.S.C. § 1344, 28 U.S.C. § 1331, 28 U.S.C. § 1332, inter alia.

PARTIES

2. Plaintiff, Vicki Dillard Crowe, was at all times material to the allegations in this
Complaint a Resident of the state of Colorado, and conducted the transaction listed
herein in the city of Denver, the state of Colorado. Plaintiff’s current mailing address

is also locat Colorado.

Case 1:17-cv-01344-LTB Document 1 Filed 06/02/17 USDC Co|orado Page 2 of 23

3. Def`endants Jeffrey D. Servin, Esq. and Servin Associates were at all times relevant to
the Complaint a Resident and/or principally operating in the city of the Philadelphia,
the state of Pennsylvania. The principal address for both is: 1500 Market Street, 12th
Floor, East Tower, Centre Square, Philadelphia, PA 19102 and 1800 JFK Boulevard,
Suite #300, Philadelphia, PA 19103. (Plaintiff included the latter address, as
Defendants' new website reflects such.)

JURISDICTION

4. Jurisdiction is proper under 18 U.S.C. § 1341, 18 U.S.C. § 1343, 18 U.S.C. § 1344,

28 U.S.C. § 1331, 28 U.S.C. § 1332, 18 U.S.C. § 1964.
BACKGROUND

5. On or about May 4, 2007, Plaintiff entered into an official contract with Jeffrey D.
Servin, Esq. and J ames L. Walton (“the partners”) for financing of a property to
include religious and community purposes SEE EXHIBIT 1, Page 3 for the final
signing and official entry of contract. Plaintiff was told that the “non-conventional”
financing to be provided by the partners was specially geared for religious
organizations, churches and ministries. From the incipiency of the agreement,
Plaintiff was led to believe that the partners were brokers, thus in need of being
compensated for their services. Due to the fact that the purported financing was non-
conventional and to show good faith, the partners required Plaintiff to front a portion
of their fees outside of the loan funding. They further indicated that the rest of their
fee would be taken out of the loan funding upon closing.

6. There was a' combination of reasons why Plaintiff and Plaintiff`s former

spouse/business partner decided to discontinue working with the partners. After

Case 1:17-cv-01344-LTB Document 1 Filed 06/02/17 USDC Co|orado Page 3 of 23

unwittingly wiring funds (in excess of the amount listed on the contract) into Jeffrey
D. Servin, Esq.’s IOLTA account through the administration and supervision of
Servin Associates; after mailing additional hinds in the form of a money order; being
asked to do what Plaintiff suspected to be inappropriate or inaccurate; placing
Plaintiff and former business partner in a precarious predicament; and finally, after
not receiving timely responses and correspondence from the partners, Plaintiff asked
for a refund of her money.

7. Upon making the refund request to Servin, he promptly stated he would speak to his
partner, J ames L. Walton (“Walton”) and get back with Plaintiff. This he did not do
in a timely fashion, thus causing Plaintiff great concern and anxiety. After Plaintiff
finally received a response from the Defendant, he began to distance himself from his
direct and explicit involvement and modified his title from “partner” to “attorney for
my client (Walton).” Plaintiff received numerous pages with Servin’s credentials,
provided in an attempt to display Servin’s vast knowledge and expertise to the
financing and business to which we were engaged.

8. The Defendants and Walton began to avoid Plaintiff by ignoring her calls (and others)
and only responding after long delays. After scrutinizing Servin, Servin Associates
and Walton, Plaintiff learned that several other religious organizations were victims
of their scheme and referred Plaintiff to others who experienced this pattern of fraud
and deceit. Due to Plaintist consistent investigatory efforts and upon information
and belief`, she believes J ames L. Walton has since deceased.

9. Plaintiff is entitled to relief, as she was defrauded of money from her banking

institution by the Def`endants, who were in direct receipt of the wired funds. The

Case 1:17-cv-01344-LTB Document 1 Filed 06/02/17 USDC Co|orado Page 4 of 23

10.

11.

12.

13.

Defendants recklessly and deliberately used the wiring system and FedEx to advance
their scheme. Servin, as an officer of the court and with a depth of knowledge of the
law, knew or should have known that he initiated, administered, received and `
personally benefited from funds in violation of both state IOLTA rules and federal
standards, among other rules/laws.

As a result of` the role in the scheme perpetrated by Servin, who Was a licensed
attorney in two states, Plaintiff has suffered greatly. Plaintiff experienced great
financial loss, income and earnings, constant mental anxiety and emotional injuries as
a result of being defrauded and taken advantage of, inter alia.

Plaintiff has contacted numerous authorities in order to expose the pattern of deceit
and fraud the Defendants ostensibly and regularly engaged in. One state law
enforcement organization suggested that Plaintiff bring this action.

If it pleases the Court, and in an attempt to mitigate costs, Plaintiff intends to call
several persons to testify telephonically or personally if` feasible, to their injurious
experience with Servin’s partnership scheme.

Servin, along with his partner, have consistently defrauded a number of religious
organizations Servin has established a clear pattern of fraud and deceit against those
who are similarly situated to Plaintiff. Plaintiff has spoken directly to Rev. Lightsey
of St. Mary Missionary Baptist Church of Mims, Florida. He agreed to testify
concerning funds that his religious organization wired and they have yet to receive
any assistance or hear back concerning his funds. Plaintiff has spoken to a builder by
the name of Mr. J. Stokes. Though he has only limited knowledge, he is aware of a

connection of between both Servin and Walton and is aware of at least one complaint

Case 1:17-cv-01344-LTB Document 1 Filed 06/02/17 USDC Co|orado Page 5 of 23

14.

15.

16.

17.

made by a religious organization representative Plaintiff is also aware of a broker
who is licensed in nearly all fifty states who has direct knowledge of complaints
regarding their ongoing scheme that the Defendants are most certainly apart of.
Plaintiff intends to personally call a local minister to testify to the deceit and fraud,
for he made direct contact with Servin’s partner and was told that they would indeed
refund some of the monies. (SEE ATTACHED AFFIDAVIT/EXHIBIT 7.)
FIRST CLAIM FOR RELIEF

WIRE FRAUD 18 U.S.C. § 1964; 18 U.S.C. § 1343
Paragraphs l through 13 above are hereby incorporated herein by reference as though
fully set forth in this cause of action.
Plaintiff claims damages against Jeffrey D. Servin, Esq. and Servin Associates for
monetary loss due to wire fraud, Servin, by and through Servin Associates,
perpetrated a scheme and defrauded Plaintiff of money using the federal wiring
system. SEE EXHIBIT 2, for such is the direct wire confirmations of domestic wire
transfers from WAMU bank, indicating Servin’s direct receipt of funds in 4 different
wires.
Neither Jeffrey D. Servin, Esq. or his partner or company (-ies) are listed in the
Colorado Secretary of State as licensed to do business here. Servin is an attorney and
knew or should have known that his law firm and business was not registered with the
state of Colorado, thus conducting unlawful interstate commerce.
Unwittingly, Plaintiff wired Defendant $9,650.00, later learning that an IOLTA
accounts are a special “holding” and interest bearing account. As is evident in

EXHIBIT 1, Page 2, Part B of the contract, Defendants should have only received

Case 1:17-cv-01344-LTB Document 1 Filed 06/02/17 USDC Co|orado Page 6 of 23

18.

$9,500.00. Pennsylvania, the state in which Plaintiff is presently a licensed attorney,
IOLTA account standards are particular and require the highest standards and
adherence According to The Pennsylvania Interest on Lawyers Trust Account Board
regarding the purpose of an IOLTA account: “Clients and others frequently transfer
monies to lawyers to hold. When the amount is large or if the funds will be held for
an extended period of time, lawyers invest them for the benefit of the owner. But
when the funds are small or expected to be held for a short time, they cannot
practically be invested to benefit the owner of the funds. These funds are ‘qualified
funds."' It should be noted that the provisions promised within said contract, on its
face, were not duly met and Servin initially and medially represented himself as a
partner.

Based upon Plaintiff’s reading of Pennsylvania’s IOLTA standards, attorneys must
file annual reports of said accounts and provide the beneficial owner (which Plaintiff
presumes to be) an accounting of the funds. Further, it appears that attorneys m_ust
not personally benefit from said IOLTA funds. Not only did Servin personally
benefit, but he clearly and unequivocally blurred the lines of the type of account (and
the purpose) -Plaintiff was wiring funds into. SEE EXHIBIT 1, Page 3, Section 1, for
the terms “retainer/commission” and “IOLTA” were used. Which is it? Such was
not elucidated upon by the Defendants at the time of receipt. The fact that Plaintiff
wired said funds into the Defendants account proves that Plaintiff was told that Servin
was a partner. Why else would Plaintiff have wired him funds? Servin never served
as attorney and counsel for Plaintiff. How did Servin account to the PA Supreme

Court and/or regulatory agencies the additional and unsubstantiated funds he received

Case 1:17-cv-01344-LTB Document 1 Filed 06/02/17 USDC Co|orado Page 7 of 23

19.

20.

21.

22.

23.

in his IOLTA account? Clearly, Servin did not adhere to anv of these standards
Plaintiff was duped and defrauded from the commencement of this contract; and
further, she was never informed that Servin had certain standards that he must meet.
Plaintiff trusted that Servin ~ who was once an officer of the court for two states'-
would be integral and conduct business honestly. Plaintiff, believing Servin’s status
as an attorney was an asset, was sorely mistaken and taken advantage of Defendants
through fraud, inter alia.
Plaintiff is entitled to damages to be proven at trial.
SECOND CLAIM FOR RELIEF

MAIL FRAUD 18 U.S.C. § 1964; 18 U.S.C. § 1341
Paragraphs 14 through 19 above are hereby incorporated herein by reference as
though fully set forth in this cause of action.
SEE EXHIBIT 3, for such is a copy of the original FedEx package, along With the
tracking number, Plaintiff received from the partners. Such is one of` the means by
which the scheme was perpetrated, for it contained a contract.
EXHIBIT 3 corroborates Plaintiff’s claim that M Servin and Walton consistently
represented that they were partners, for the face of the FedEx envelop clearly lists the
Sender’s name as “J ames Walton & Jeffrey D. Servin, Esq.” and the Sender’s address
is clearly the Defendants principal office/address!
The United States Postal Service was also used to mail Walton, Servin’s partner, a

money order for $250.00, SEE EXHIBIT 4.

Case 1:17-cv-01344-LTB Document 1 Filed 06/02/17 USDC Co|orado Page 8 of 23

24.

25.

26.

27.

28.

29.

30.

Servin deliberately and knowingly defrauded Plaintiff by use of the United States
Postal mailing system. Plaintiff is entitled to damages due to injuries and loss - an

amount to be proven at trial.

THIRD cLA`IM FoR RELIEF

BANK FRAUD 18 U.S.C. § 1344
Paragraphs 20 through 24 above are hereby incorporated herein by reference as
though fillly set forth in this cause of action.
Servin willfully and knowingly used not only Plaintiff"s bank (WAMU) to further the
scheme delineated herein, but he also used his bank (ROYAL BANK OF PA/
ROYAL BANK AMERICA) housing his IOLTA account. SEE EXHIBIT l, Page 3,
Section 1 & 2 and SEE EXHIBIT 2, as both banks are listed therein.
Plaintiff is entitled to damages for loss and injuries to be proven at trial.
SEE EXHIBIT 5, for such is a Quarterly Discipline Report from 2008 from the
Pennsylvania Office of Attomey Ethics. On Page 2 of EXHIBIT 5 “Jeffrey D.
Servin” is listed as having been disciplined Plaintiff believes such is relevant, for it
speaks to the veracity of her claims of Servin’s character and inappropriate behavior.
SEE EXHIBIT 6, for it appears to be a direct admission of “retainer” impropriety by
Servin, Such is relevant to Plaintiff’s claim that Servin did not and does not seem to
adequately adhere to requisite standards and rules of the law.
Based on research and upon information and belief, Plaintiff believes that Servin has
been disbarred from practiced in the state of New Jersey. This search appears to be

listed under: “SUPREME COURT OF NEW JERSEY D-64 September Term 2007

Case 1:17-cv-01344-LTB Document 1 Filed 06/02/17 USDC Co|orado Page 9 of 23

31.

32.

IN TI-IE MATTER OF JEFFREY D. SERVIN, AN ATTORNEY AT LAW (Attomey
No. 029261976) ORDER The Disciplinary Review Board having filed with the Court
its decision in DRB 07-168.” Again, this confirms impropriety and unduly actions of
Servin, thus such is apposite to this action.

PRAYER FOR RELIEF
Not only have Servin and Servin Associates engaged in a pattern of unlawful
interstate commerce, for his firm and related companies and partnerships are not
registered with the state of Colorado to do business, but he clearly and consistently
engaged in blatant RICO violations. lt is also clear that he did not comply with the
strict standards of PA IOLTA rules and protocols, inter alia.
WHEREFORE, Plaintiff requests the following relief: an award for direct funds wired
to Jeff`rey D. Servin’s, Esq. IOLTA account and Defendants, wiring costs, punitive
damages, interest, loss of income, statutory damages, general damages, special
damages, reasonable attorneys fees and legal costs, along with any other relief the

Court deems appropriate

Respectfully submitted this 2nd day of June, 2017.

"\

 

/I
Vicki`§inard Crowe

Plaintiff' s Contact information:

Vicki Dillard Crowe, pro se Plaintiff
P.O. Box 460473

Glendale, CO 80246
vickidillardcrowe@gmail.com
(303)507-0602

Case 1:17-cv-01344-LTB Document 1 Filed 06/02/17 USDC Co|orado Page 10 of 23
Case 1:11-cv-01198-RBJ-BNB Document 1 Filed 05/04/11 USDC Colorado Page 10 of 24

THE LUKE 14:28-29 GROUP, LLC.

God’s‘Way..~. I?xe Only Way
INTERNATIONAL FINANCING AND CONSULTANTS PROGRAMS

 

JAMES L wALroN, FoUNDER & ch
MAILING ADDREss:
811 s. 49“‘sTREE'r
sUrrE # 1
PHn.ADELPHrA, PA 19143-3401
moan 1-267-531-7727
Fsz 1-267_531-7726
cELLULAR: 1.215.7153310

"NOTE: ALL FI NANCIAL INFORMATION RECEIVED BY THE LUKE 14:28-29 GROUP, LLC., MUST BE VER[FIED BY
YOUR CPA AND A TI'I'LE SEARCH MUST BE CONDUCTED ON ALL PROPERTY THAT WILL BE USED AS
COLLATERAL FOR YOUR PROJECT.

FINANCIAL AND ADMINISTRATIVE CONSULTANT FEE AGREEMENT

PRELIMINARY LOAN APPROVAL

 

AMOUNT $ _2_=§@100_0&
DATE: A ril 27 2007
Congratulations and welcome aboard. As a result of the timeliness in which your Organizau'on

has provided us with needed Financial Infonnation. We are happy to inform you that your Organization,

 

Crowe’s Nest, LLC., and its’ Minister, Vicki Crowe have been conditionally approved for
$ 2,300,000.00, based on your Organization’s Financial lnformation that was received, to
date, in your Application. This is an Agreement between Crowe’s Nest, LLC,

and its’ Minister, Vicki Crowe and The Luke 14:28-29 Group, LLC, Mr. James L. Walton,

 

President & CEO, 811 S. 491'H Street, Suite #1, Philadelphia, PA 19143-3401.

 

Let it be the understanding of your Organization, as named above and its’ Minister, Vicki Crowe as
named above, that The Luke 14:28-29 Group, LLC and James L. Walton, who will be personally

administering all activities of the above named Organization and its’ Minister, Vicki Crowe on

 

behalf of The Luke 14:28-29 Group, LLC (hereinaiter known as “Consultant”) will/has render(ed)

the following services/information in the following manner:

flee/err / 1
///vj

Case 1:17-cv-01344-LTB Document 1 Filed 06/02/17 USDC Co|orado Page 11 of 23
Case 1:11-cv-01198-RB.1-BNB Document 1 Filed 05/04/11 USDC Co|orado Page 11 of 24

THE LUKE 14:28-29 GROUP, LLC
THE LUKE 14:28-29 GROUP, LLC PROVIDE THE FOLLOWING SERVICES AS YOUR
CONSULTANTS: (All Services are Advisory, ONLY your Organization has Total Control.)
A- W
1. Consultation of the Feasibility of Financing Capabilities of the organization

2. Have received and reviewed, Crowe’s Nest LLC information submitted to Mr. Jamcs L Walton, by
Minister, Vicki Crowe The information received, as stated must be accurate and true

 

3. We have placed and filed your Organization’s Financial Application with a
Qualified Established Lcnder.

4. Your loan will be all of the following:

a) Open Ended type of Mortgage- 15 years

b) Fixed Rate for the Life of the Mortgage~8.0 % , based upon completion of
paperwork, ASAP (35 Days fi'om the full execution of this agreement)

c) No Balloons

d) No Personal Oiiicial Organization’s Member’s Signatures required as
Loan Guarantors

e) No Pre-Payment Penalty

f) Organization’s mortgage will -be secured by it’s own property-the Mansion

g) Funding usually received within 90 days or less

h) Lender will~work with your Organization’s Minister and appointed
personnel , to design the best possible Loan Package

The below indicated Retainer/Breaking of Escrow Fee for Consulting Financing Services-shall
automatically be deemed Non-Refundable upon issuance by a qualified and established lending
source of its usual conditional financing commitment for the above organization’s project

1. The Luke 14:28-29 Group, LLC consultant fee for Financial and Administrative and
Consulting Services is, 2.5 % of the total amount borrowed and received for services for
transactions of this type. In this case, the amount secured is $ 2,300,000.00, which
$ 57,500.00 would be our Consultant Fee. In the event said amount is raised or reduced,

said fee will be so adjusted and placed o a N Contractual Agreement for your
Organizatio__n. Please initial,?M£)'w

2. Consultant’s Fee shall be made in two (2) payments as follows:

 

 

a) Retainer Fee Due: May 1, 2007 $ 9 500.00
(Tuesday) (Proof of FAXED)
b) Upon Breaking of Escrow
(Your Organization receiving their Loan) $ 48,000.00

THIS PAYMENT REPRESENTS THE FINAL FEES DUE CONSULTANT ON THIS LO_AN.

fra/afr / »
01§~27

Case 1:17-cv-01344-LTB Document 1 Filed 06/02/17 USDC Co|orado Page 12 of 23
Case 1:11-cv-01198-RBJ-BNB Document 1 Filed 05/04/11 USDC Co|orado Page 12 of 24

 

THE LUKE 14:28-290R0UP LLC 474,0 0¢;¢/,/ u’;,'-.

WW a saw m WM/FF¢»W/v¢-

1. The first (a) retainer/commission fees of , , to be first faxed with this signed ;¥511»¢5
agreement and proof of the bank wire transfer paper, by your Minister, (for the sake of 'Z ,__O
time), to our of&ce, our fax number 15:(215-654-0357),'['1115 payment will be paid to: 550
Jeffre D. servin Es . or La ers TrustAcct. Board.roLrA Ro albank ofPA 1*/ ?z>d
30 S. 15'h Street. Philadelphia PA 19102 Routin No. 031901097 Escrow Account
#1162394.

 

¥‘Ym)

2. The Final Consultant Commission Fee of $48,000.00 is to be paid via Ba.nk Wire Txansfer by g/é
the Trust Company, who will use this signed agreement as authorization to make the final
payment according to this signed dated agreement This final payment will be paid to: Jeffrey
D. Servin, Esq.. (For Lawvers Trust Acct. Board-IOLTA), Roval Bank of PA. 30 S.15ul
Street Philadel hia PA 19102 Routin No. 031901097 Escrow Account #1162394.

 

NOTE: The only funds put out by your Organization in regards to this loan will be the first
retainer (a), The Luke 14:28-29 Group, LLC., will receive no additional payment/fee until
Wlosing of this loan at which time our final payment will come out of the loan itself.

nitial)

Pastor, please place your initials everywhere you see my initials, throughout this agreement

Organization’ s project:

>Q%LMW mg

MIN1ST'ER \b/ALTON, President & ch
/

I have read and fully understand this contractual agreement ffm_\ the financing of my

 

NAME OF ORGANIZATILW

757 W:gél/M\/ affa%/Mw Z/

%3

Case 1:17-cv-01344-LTB Document 1 Filed 06/02/17 USDC Co|orado Page 13 of 23
Case 1:11-cv-01198-RBJ-BNB Document 1 §§ ed 05/04/11 USDC Co|orado Page 13 of 24

Z=°’£?i f ` ,, M/£)‘ `
-Wa$hingtonMutual _ /WA;K%,/agf M,,-,

Confirmation of Domestic Wire Transfer Order

 

Customer lnfcrmation:

Narne: VICK| R DiLLARD-CROWE
Authorized Representativa Name:
Address:

Date: 05/04/2007

 

 

 

 

950 LOGAN ST DENVER, CO 802033009

Fa>< Number.= ¢303) 725 902
0 .

Phone Number: n

 

  
   
  

   

 
 
  

     

Name: DENVER - FlREHOUSE SQUARE (303) 744-1081

Address:
1038 E 6TH AVE STE A _ DENVER, CO 802183303

 

 

Fax/Phone Wire Request Confirmed with (Customer/AR/AlF):

 

Tlme: Date: FC Representative Name:

 

 

 

Thank you for banking with Washington Mutual.

This serves as a confirmation for a Domestic Wire
Your account `wiu be debited on: 05/04/2007

You must contact the Bank immadiatei
inconsistent with your records. '

y at the center noted above if any information contained in this confirmation is
Beneficiary Bank:

Beneficiary Name:
Beneficiary Account Number:
Wire Amount:

 

By Order Of: VlCKl R DlLLARD-CROWE
Amount Debited: $4,270.00
Fee: $20.00

Transaction Reference Number: V800023278200888

Account number: 030900004125553

Agent Name: JASON MCWlLLIAMS

b FM//z’/r¢@
/§4

32060m 104/05)

Case 1:17-ov-01344-LTB Document 1 Filed 06/02/17 USDC Co|orado Page 14 of 23
Case 1:11-cv-01198-RB.J-BNB Document 1 , Filed 05/04/11 USDC Co|orado Page 14 of 24

 

 

 

 

L\w) Washington Mutual

Confirmation of Domestic Wire Transfer Order \\
Customer Information: Date: 06/01/2007
Name: CROWES NEST/CROWES HOUSEHOLD, LLC
Authorized Representative Name: V|CK| R D|LLARD_CROWE
Address:

 

45 S GARF|ELD ST

DENVER, CO 802093115
Fax Number'

Phone Number: (303) 725- 9020

    

 

    
    
     

 

Name: DENVER - FlREHOUSE SQUARE
Address:

1038 E 6TH AVE STE A _

Phone Number

 

(303) 744-1081

DENVER, CO 802183303

 

Fax/Phone Wire Request Confirmed with (Customer/AR/AlF):

 

Time: Date: FC Representative Name:

Thank you for banking with Washington Mutual.

This serves as a confirmation for a Domestic Wire,
Your account will be debited on: 06/01/2007

You must contact the Bank immediately at the center noted above if any information contained in this confirmation is
inconsistent with your records.

Be'neficiary Bank: ROYAL BANK AMER|CA

‘ ~ ' *“’*‘~W . '
v . Benefrclary Name. , nga M;M
Beneflclary Account Number: .1162394

Wire Amount: _~2~§7®. '55,§';:1

gsa bmw r»._»ia

  
  

By Order of: ViCK| R D|LLARD-CROWE
Amount Debited: $2,720.00
Fee: $20.00

Transaction Reference Number: VBOOO?_3271 169388

Account number: 030900004125553

Agent Name: VALER|E SHERMAN

51<#/@/7~ OZ)

OZj/%

32060m 104/061

Case 1:17-Cv-01344-LTB Document 1 Filed 06/02/17 USDC Co|orado Page 15 of 23
Case l:ll-cv-OllQB-RBJ-BNB Document 1 Filed 05/04/11 USDC Co|orado Page 15 of 24

Washington Mutual

Confirmation of Domestic Wire Transfer Order

 

Customer |nformation:
Name: CRCWES NEST/CROWES HOUSEHGLD, LLC

Date: 06/05/2007

 

 

 

Authorized Representative Name:

 

Address:

45 S GARFIELD ST DENVER, CO 802093115

 

F Nmbe'

         
 
 
 

   

Phone Number: (303) 725-9020
R_.E

"Name. DENVER - FlREHousE souARE | Phone Number:

(303) 744~1081

  
   

 

Address:

1038 E 6TH AVE STE A DENVER, CO 802183303

 

Fax/Phone Wire Request Confirmed with (Customer/AR/A|F):

 

Time: Date: FC Representative Name:

 

 

 

Thank you for banking with Washington Mutua|.

This serves as a confirmation for a Domestic Wire
Your account wii| be debited on: 06/05/2007

You must contact the Bank immediatel

y at the center noted above if any information contained in this confirmation is
inconsistent with your records.

Beneficiary Bank:
Beneficiary Name:

Beneficiary Account Number:
Wire Amount:

RoYAL BANK AMERch
HE§.RZ§§B\?MNF€§§
1162394

§§}‘8°5%0 §§

By Order of: CROWES NEST/CROWES HOUSEHOLD, LLC

Amount Debited: $1,820-00
Fee: $20.00
Transaction Reference Number: V800023275052393
` Account number:

{X#//M' @Z»

j§%

32060m (04/08)

030900004125553

Agent Name: JASON MCW|LL|AMS

Case 1:17-Cv-01344-LTB Document 1 Filed 06/02/17 USDC Co|orado Page 16 of 23
Case 1:11-cv-01198-RBJ-BNB Document 1 Filed 05/04/11 USDC Co|orado Page 16 of 24

Washing'ton Mutual

Confirmation of Domestic Wire Transfer Order

 

Customer lnformation: Date:

06/06/2007
Name: CROWES NEST/CROWES HOUSEHOLD, LLC

 

 

 

Authorized Representative Name:

 

Address:

45 S GARF|ELD ST DENVER, CO 802093115

 

     
  

o

Phone Number:

Fax Number~ Phone Number: (303) 725-9020

  

  

  

Name: SMOKY H|LL 1720) 870-0218 nn "

 
   

 

Address:
20239 E SMOKY H|LL RD CENTENN|AL, CO 800153113

 

Fax/Phone \Mre Request Confirmed with (Customer/AR/AlF):

 

Time: Date: FC Representetive Name:

 

 

 

Thank you for banking with Washington Mutual.

This serves as a confirmation for a Domestic Wire
Your account will be debited on: 06/06/2007

You must contact the Bank immedia

_ tely at the center noted above if any information contained in this confirmation is
inconsistent w1th your records.

Beneficiary Bank: ROYAL B_ANK AMERICA

Beneficiary Name: Aé'jj’:§@§§€ryiri:§§”q` _-'-‘€_1
Beneficiary Account Number: 1162394 '

Wire Amount: §§

 

/
.~,-'~.~.~.' ,~,- ¢‘ . .'
'q»-x;¢`$l€‘.>‘-.'; r‘W’¢ *» * ` ‘

By Order of: CROWES NEST/CROWES HGUSEHOLD, LLC
Amount Debited: $920.00
Fee: $20.00

Transaction Reference Number: V800020104103573

_ Account number: '030900004125553

Agent Name: R|TA GLEYZER

5</§//5//` dc

771

320 BOm (04/05)

Case 1:17-Cv-01344-LTB Document 1 Filed 06/02/17 USDC Co|orado Page 17 of 23

i

BNB Document 1 F

-CV-OllQB-RBJ-

11

Case 1

led 05/04/11 USDC Co|orado Page 17 of 24

 

. aaa

l..'»

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

xii¢z¢au.c¢=xl.¥x.¢¢l-t'nz¢¢zxu¢¢¢¢¢z.l.¢¢ ,

cam:.Em.,.»._..H.mo~mn_..~.asna§ ,

 

 

 

 

Case 1:17-Cv-01344-LTB Document 1 Filed 06/02/17 USDC Co|orado Page 13 of 23

3 THIS DIH(E:gi§lgNl 1113-lsc ¥I-IB)E:LBBW :

 

v

i§‘;z`?' -";

1371
gy,.
E®` *-

é¢p.\e.a.c¢
"'1._'""

    

¢» :G":; ~\D¥

Jr'i-'.d» ,»".1\'.§¢.1¢':-'~¢"

 

MONEY onDER RECE\PT - NON NEGOT\ABLE

AGT 506574 LOC¢OOOOB/i DT 030507 $250. 00 HZHUNBREDEODOLLARS XX
AND ND CENTS**¥**#X*XX****¥H*M*WM*WXXXH#X***X*XX*W

   
     

 

- ._._.....v",_ nov o|ul: ur‘

mrom‘mr '
mccann

E !VW Wp\ll¢hlg|"f notli
“w...~"»““~u,§§ij“es,.bg:a sm§`*~"% M<' §"L¢“§“"Jm~,:".“d,m *.' 1121.,..":3313."Wo.,£,‘?y '

*0@51229858@

 

#OES‘iEEQEEEO *

<- an _l~rals sua Wouoazila slH.L av07

fl BGIS SlHJ. |'NCIJ.QZHIG SlH.i. ClVO'i -> _\

é:)<,¢//E /7 44

OFFICE OF AT'I`ORNEY ETHICS
QUARTERLY DlSClPLlNE REPORT
(1/1/2008 to 3/31/2008)

DISBARMENT (5)

ATTQRNEY

Becker, Heywood E.
Canton, Ricardo A.
Franks, Harry Elwood Jr.
Lynch, Gerald M.
Szegda, Michael A.

DISBA
ATTORNEY

BY NSENT (6)

Feinennan, David Alan
Hussain~El, Amin Khalil
Lagasi, Anthony J.
Lambert, Bemard
Masson, Eugene D.

Perris, Nina E.

SUSPENSION TERM (17)

ATTORNEY

Armotrading, Gregory P - 6 Mo.
Avery, Diane S.- 3 Mo.
Bemardino, Jose Victor - 12 Mo.
Boyer, David Wayne - 3 Mo.
Flynn, Kevin John - 12 Mo.

Hawn, Gregory G.- 3 Mo.

Holland, Antoinette Renee-3 Mo.
Kivler, Russell T.- 36 Mo.

Le Blanc, Wilfrid Jr. 3 Mo.
Moore, Patrick J.- 12 Mo.

Perez, Abad A.~

3 Mo.

Sarmiento, Ramon ~ 3 Mo.
Sharma, Neal - 3 Mo.
Thomas, Anthony N.- 12 Mo.
Waldron, James A.- 6 Mo.
Wargo, Kathleen D.- 12 Mo.
Wood, Scott JeH`rey - 12 Mo.

173

fM//B/f 5”

 

Case 1:17-Cv-01344-LTB Document 1 Filed 06/02/17 USDC Co|orado Page 19 0123
Case 1:11-cv-01198-RBJ-BNB Document '1 Filed 05/04/11 USDC Co|orado Page 19 of 24

 

ADMlTrr-:D LocATIoN DEchED EFFECTWE
1979 Hunrerdon 02/20/2008 02/20/2008
1981 Middlesex 01/08/2008 01/08/2008
1989 Auami¢ 02/05/2008 02/05/2008
1977 Middlesex 01/08/2008 01/08/2008
1983 Bergen omc/2008 02/20/2008
ADMlTTED LocATloN DECIDED EFFECTIVE
1989 Burlington 02/08/2008 02/08/2008
1987 Essex 02/29/2008 02/29/2008
1984 Essex 03/05/2008 03/05/2008
1979 Essex 02/26/2008 02/26/2008
1981 Morris 03/12/2008 03/12/2008
1985 Mercer 03/26/2008 03/26/2008
AQM;BLQ LQQATIQN pligng EFFEQTIVE
1995 Floriqa 02/04/2008 02/04/2008
1981 Bergen 03/18/2008 03/18/2008
1999 Pennsylvania 02/26/2008 02/26/2008
1992 Mercer 02/26/2008 02/26/2008
1987 Pennsylvania 03/05/2008 03/05/2008
2003 B(')sl:;:;§f 02/13/2008 02/13/2008
1993 Essex 03/10/2008 04/11/2008
1973 Mercer 01/18/2008 01/18/2008
1998 Union 02/04/2008 02/04/2008
1989 Pennsywania 03/11/2008 03/11/2008
1987 Hudson 02/04/2008 02/04/2008
2005 Florida 03/10/2008 12/01/2006
1992 Mercer 02/26/2008 02/26/2008
2000 Pennsylvania 01/15/2008 01/15/2008
1970 cape May 02/15/2008 02/15/2008
1987 Morris 03/1 1/2008 03/11/2008
1988 Burlingwn 02/13/2008 02/13/2008

Case 1:17-Cv-01344-LTB Document 1 Filed 06/02/17 USDC Colorado Page 20 of 23
Case 1:11-cv-01198-RBJ-BNB Document 1 Filed 05/04/11 USDC Colorado Page 20 of 24

CEN§L!E (6)
ATI‘ORNEY M LQQATIQN DED EFFE IVE
Avery, Diane S. 1981 Bergen 03/18/2008 03/18/2008
Campbell, Brian Patrick 1986 _ Hudson 02/04/2008 02/04/2008
Kassem, Nabil Nadim 1994 Passaic 03/18/2008 03/18/2008
Williams, Avis Colc 1987 Atlantic 02/13/2008 02/13/2008
Witherspoon, David J. 1994 Essex 02/13/2008 02/13/2008
Wood, Nancy R. 1988 Burlington 02/13/2008 02/13/2008

ngng REPRIMAND (7)

 

AT'I`ORNEY ADMITTED LOCAT!ON DECIDED EFFECTIVE
Abramowitz, Amold M. 1976 Essex 02/13/2008 02/13/2008
Colby, Maxwell X. 1975 Monmouth 02/05/2008 02/05/2008
Mc Coy, Vera 1986 Camden 02/04/2008 02/04/2008
Nichols, James D. 1971 Middlesex 01/15/2008 01/15/2008
Philpitt, Stephen R. 1972 Middlesex 02/26/2008 02/26/2008
__§::_r_vln,_liffrgl).______________ 1977 C@den 02/26/2008 02/26/2008
Wolft`, lack L. 1970 Morris 03/18/2008 03/18/2008

ADMONITION (9)

ATTQRNEX ADMIl [ED LOCATION DECIDED EFFECTIVE
Deni, William P. 1972 Hunterdon 01/23/2008 01/23/2008
Levin, Harry J. 1983 Ocean 01/15/2008 01/15/2008
Oxfeld, Sanford R. 1973 Essex 03/28/2008 03/28/2008
Palmer, Michael J. 1991 Passaic 03/06/2008 03/06/2008
Parker, Fred Muller Jr. 1999 Cumberland 03/17/2008 03/17/2008
Ruchalski, Karen E. 2001 Passaic 03/28/2008 03/28/2008
Schoenwetter, Todd E. 1993 Camden 02/01/2008 02/01/2008
Shabel, Nonnan J. 1969 Burlington 02/01/2008 02/01/2008
White, Lewis N. 111 1970 Middlesex 01/23/2008 01/23/2008
TOTAL FINAL DISCIPLINE ................... 50

 

TEMPQRARY SUSPEN§IQN (7)

ATTORNEY ADMITI`EQ LQ§ATION DECIDED EFFE IVE
Bosworth, Kevin M. 1979 Hudson 03/18/2008 03/18/2008
Brc§nson, Larry 1970 New York 01/22/2008 01/22/2008
Glasner, Edmund Paul 1985 Ocean 01/14/2008 01/14/2008
Masson, Eugene D. 1981 Morris 02/13/2008 02/13/2008
Montefusco, John J. 1 1966 Morris 02/20/2008 02/20/2008
Payne, David M. 1986 Sussex 01/22/2008 01/22/2008
Perris, Nina E. 1985 Mercer 03/06/2008 03/06/2008
TOTAL TEMPORARY DISCIPLINE .............................. 7

 

FM/é/T f
01 § 3

Case 1:17-cv-01344-LTB Document 1 Filed 06/02/17 USDC Colorado Page 21 0123"

Case 1:11-cv-01198-RB.J-BNB Document 1 Filed 05/04/11 USDC Colorado Page 22 of 24
jeffreydservin Page 1 of 2

/; J`effrey D. Servin, Esquire

1500 Market Street. 12th Floor - East Tower. Centre Squara - Philadelphia, FA 19102

PH: 215-665-1212 FAX: 215-654-0357 4 Emai|Address:
JDServin comcast.net

Explanation_of l\/lisleading New Jer_sey information Regarding Short
Suspenslon,etc.

ln an ironically "twisted way" this came about because l passed the Bar Exam back in 1974. too high. Let me
explain. Back in 1974 if you passed the Eennsylvama Bar Exam high enough you could waive over and be licensed
in New Jersey without taking the New Jersey Bar E)<am. Fortunately 1 was able to do this. Over the years my
practice was 95% in Pennsylvania and the balance in New Jersey. l wanted to maintain my license because l
anticipated that someday l might retire at the Shore and over the years 1 did have some New Jersey work. lt turns
out that the New Jersey license Was a lot more aggravation than it was worth. lt has now come back to be an issue
because of "Google“ and their search engine capabilities

|n 2003 my license was suspended for a period of three months with respect to the State of New Jersey only. 1 Was
licensed in New Jersey and Pennsylvania This was an unusual situation which did not involve any malpractice or
any substantive wrongful conduct; rather it was a result of a political issue which had been bouncing back and forth
between Pennsylvania and New Jersey for a number of years. This revolved around the issue that New Jersey then
had a'requirement that you must have a "bona flde" ofhce in New Jersey in order to practice law there Pennsylvania
does not have the same requirement Over the years, New Jersey had been incredibly "picayune" about this issue
(_i.e. whetherl had an individual office, whether l had an individual office with a lock on the door, etc.) and has been a
legal "political" issue between PA and New Jersey, to try and keep PA lawyers from "coming across the river" and
taking business away from New Jersey lawyers Ultimately, my suspension came about in connection with the small
number of calls l was getting in New Jersey, those calls were call-forwarded to my oftice in Pennsylvania instead of
physically actually being answered in New Jersey. lt was ultimately for this reason that l was suspended in New
Jersey for three months_

lronically, just before l was suspended, New Jersey actually did away with the "bona tide oche rule" and it no longer
exists. l ultimately decided, not to renew my license in New Jersey as there was limited business there. This issue
has not affected my license in Pennsylvania, ln any way, which does not have this requirement ln any event, the
above is a rather aberrationall non~substantive situation

Additionally. a second referenced item is also highly misleading and completely benign; l am refering to the reference
to "comingling of funds". which certainly needs a complete explanation This occurred approximately 18 years ago.
At the time l had two bank accounts in New Jersey; one escrow account and one business account. Unfortunately at

fl_<////S/Y’ h
http://sites.goo€l@r§;hdjeffreydservin/ 4/26/2011

Case 1:17-cv-01344-LTB Document 1 »Filed 06/02/17 USDC Colorado Page 22 0123

Case 1:11-cv-01198-RB.J-BNB Document 1 Filed 05/04/11 USDC Colorado Page 3,30 26
jeffreydservin age o

the time the color of the checks from those accounts were exactly the same. light blue. On one occassion. and one
occassion only. l mistakenly wrote a check for $200.00 to pay a bill out of my escrow account thinking it was

my business account. because they were the same color. This was a mistake 1 never made again, as l made sure
that my escrow account and my business account checks were different colors |n any event. about two years later
during a routine audit by the State of New Jersey. they discovered this error. An important factor in this situation is._
at the time, all the money in my escrow account was my own. Therefore not one penney of clients money was
effected This is a continued example of New Jersey's continued effort to harrass Pennsylvania lawyers and is part
of the basic political light between Pennsylvania and New Jersey.

ln closing l want to say, that l have been prachcing for over 30 years, l’ve never had a quarter out of place. and
among the people who know me. l have an excellent reputation For those who know me you can imagine my
frustration at the negative false 1mpression the above two entries give.

|n that regard, l would appreciate it that if Goog|e leads you to my name and above two citations, that you give me a
cell after you've read this explanation just so that l know that it is being effectively linked to the above misleading
items.

Again l thank you in advance for your consideration and cooperation and l trust that we can continue to have a fruitful
and friendly relationshlp. ln any event, lf you have any questions with regard to the above please contact me to
discuss this in person

Thank you,

Jeffrey D. Servin. Esquire

Sign in RecentSite Activig( Temts RegortAbuse Printgage| Powerecl by Goog|e Sltes

 

http: //sites. J.goge Sushe/jet’freydservin/ 4/26/201 1

Case 1:17-cv-01344-LTB Document 1 Filed 06/02/17 USDC Colorado Page 23 0123

THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Vicki Dillard Crowe,
Plaintiff, Case No.
Vs.
Jeffrey D. Servin, Esq. &
Servin Associates, l l
Defendants

 

AFFIDAVIT IN SUPPORT OF COMPLAINT/
ACKNOWLDEGEMENT OF PRIOR CIVIL CASES

 

Vicki Dillard Crowe, pro se Plaintiff states the following:

> She is of lawful age

> The information provided in this Complaint is filed in good faith and is by no means
frivolous

> This Complaint is accurate to the very best of her knowledge
> Judge Jackson in Case No. ll-CV-l 198 permits Plaintiff to re-flle this lawsuit

> Prior civil cases filed within this district are: 09cvl987; 07cv02506;07cv2172; 07cv2593;
2564; 08-680; 09cv03008; llcvl 198

Respectfully submitted this 2nd day of June, 2017.

V

Vicki Dillard Crowe

EXHIBIT 7

